Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 1 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 2 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 3 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 4 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 5 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 6 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 7 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 8 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 9 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 10 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 11 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 12 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 13 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 14 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 15 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 16 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 17 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 18 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 19 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 20 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 21 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 22 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 23 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 24 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 25 of 26
Case 2:23-bk-13815-VZ   Doc 1 Filed 06/20/23 Entered 06/20/23 09:03:10   Desc
                        Main Document    Page 26 of 26
